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                                             Individual Estate Property Record and Report                                                                    Page: 1

                                                              Asset Cases
Case No.: 17-11823                                                                                  Trustee Name:      (510070) Edward Mazel
Case Name:    TORRES-MONTOYA, JEAN MARIE                                                            Date Filed (f) or Converted (c): 07/17/2017 (f)
              MONTOYA, DENNIS WILLIAM
                                                                                                    § 341(a) Meeting Date:       08/14/2017
For Period Ending:          08/31/2020                                                              Claims Bar Date:      03/19/2018

                                        1                                   2                      3                      4                   5                   6

                            Asset Description                            Petition/         Estimated Net Value     Property Formally     Sale/Funds          Asset Fully
                 (Scheduled And Unscheduled (u) Property)              Unscheduled        (Value Determined By        Abandoned        Received by the    Administered (FA)/
                                                                          Values                 Trustee,             OA=§554(a)           Estate          Gross Value of
                                                                                         Less Liens, Exemptions,       abandon.                           Remaining Assets
  Ref. #                                                                                    and Other Costs)

    1       REAL PROPERTY                                                150,000.00                         0.00                                   0.00                        FA
            Rio Rancho, New Mexico 720 Emerald Dr NE, Rio
            Rancho, NM 87124, Sandoval County
            Single-family home, Land, Residence: Single Family
            Dwelling, Four Bedroom. Entire property value:
            $150,000.00

    2       REAL PROPERTY                                                   2,500.00                        0.00                                   0.00                        FA
            Lands of Maudie Depew Lot 3, Being the E/2 W/2 NE/4
            SW/4 In Section 17, T8R9, 2.5 acres, NM
            Land, Property No. 1050046182183000000. Entire
            property value: $2,500.00

    3       AUTOMOBILES AND OTHER                                           3,415.00                        0.00                                   0.00                        FA
            VEHICLES
            2003 Toyota Tacoma, 250,00 miles,
            Vehicle:. Entire property value: $3,415.00

    4       AUTOMOBILES AND OTHER                                           7,973.00                        0.00                                   0.00                        FA
            VEHICLES
            2011 Chevy Cruz, 38,000 miles
            Vehicle:. Entire property value: $7,973.00

   5*       AUTOMOBILES AND OTHER                                           6,469.00                        0.00                                   0.00                        FA
            VEHICLES
            2010 To Prius, 120,000 miles
            Vehicle:. Entire property value: $6,469.00 (See
            Footnote)

    6       HOUSEHOLD GOODS AND                                                 600.00                      0.00                                   0.00                        FA
            FURNISHING
            sofa, coffee table, entertainment center, lamps, mirror,
            area rug, paintings
            Location: 720 Emerald Dr. NE, Rio Rancho NM 87124

    7       HOUSEHOLD GOODS AND                                                 600.00                      0.00                                   0.00                        FA
            FURNISHING
            Table, Chairs, Hutch, Glassware, paintings

    8       HOUSEHOLD GOODS AND                                                 600.00                      0.00                                   0.00                        FA
            FURNISHING
            Kitchen Furnishings: kitchen table, chairs, linen,
            cabinet, linens, dishes, baker's rack

    9       HOUSEHOLD GOODS AND                                                 600.00                      0.00                                   0.00                        FA
            FURNISHING
            stove, dishwasher, refrigerator, microwave

   10       HOUSEHOLD GOODS AND                                                 600.00                      0.00                                   0.00                        FA
            FURNISHING
            Bedroom 1 Furnishings: bed, dresser, desk, chair,
            books, misc. items

   11       HOUSEHOLD GOODS AND                                                 600.00                      0.00                                   0.00                        FA
            FURNISHING
            Bedroom 2 Furnishings: bed, dresser, desk, chair,
            misc. items

   12       HOUSEHOLD GOODS AND                                                 600.00                      0.00                                   0.00                        FA
            FURNISHING
            Bedroom 3 Furnishings: bed, 2 dressers, television,
            costume jewelry and chair

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                                                             Asset Cases
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                           Asset Description                              Petition/         Estimated Net Value     Property Formally     Sale/Funds          Asset Fully
                (Scheduled And Unscheduled (u) Property)                Unscheduled        (Value Determined By        Abandoned        Received by the    Administered (FA)/
                                                                           Values                 Trustee,             OA=§554(a)           Estate          Gross Value of
                                                                                          Less Liens, Exemptions,       abandon.                           Remaining Assets
  Ref. #                                                                                     and Other Costs)

   13       HOUSEHOLD GOODS AND                                                  600.00                      0.00                                   0.00                        FA
            FURNISHING
            Furnishings: Bed, 2 Dressers, paintings, linens, jewelry,
            television

   14       ELECTRONICS                                                          600.00                      0.00                                   0.00                        FA
            Electronics: televisions Location: 720 Emerald Dr. NE,
            Rio Rancho NM 87124

   15       ELECTRONICS                                                          600.00                      0.00                                   0.00                        FA
            Dell Laptop

   16       ELECTRONICS                                                          450.00                      0.00                                   0.00                        FA
            Toshiba Laptop

   17       COLLECTIBLES OF VALUE                                                500.00                      0.00                                   0.00                        FA
            Collectibles: China, Crystal, Stamp Collection
            Location: 720 Emerald Dr. NE, Rio Rancho NM 87124

   18       EQUIPMENT FOR SPORTS AND                                         1,000.00                        0.00                                   0.00                        FA
            HOBBIE
            Clothes: Clothes
            Location: 720 Emerald Dr. NE, Rio Rancho NM 87124

   19       FURS AND JEWELRY                                                     600.00                      0.00                                   0.00                        FA
            Jewelry: Watches, rings
            Location: 720 Emerald Dr. NE, Rio Rancho NM 87124

   20       CASH ON HAND                                                          50.00                      0.00                                   0.00                        FA
            Cash: Cash Location: 720 Emerald Dr. NE, Rio Rancho
            NM 87124

   21       BANK ACCOUNTS                                                        250.00                      0.00                                   0.00                        FA
            Checking, Wells Fargo Bank

   22       BANK ACCOUNTS                                                         24.63                      0.00                                   0.00                        FA
            State Employees Credit Union Acct No. X7200

   23       BANK ACCOUNTS                                                         75.00                      0.00                                   0.00                        FA
            Savings: Wells Fargo Bank

   24       BANK ACCOUNTS                                                        150.97                      0.00                                   0.00                        FA
            State Employees Credit Union Account No. X7190

   25       STOCK AND BUSINESS INTERESTS                                     2,500.00                        0.00                                   0.00                        FA
            Stock: Walt Disney Co

   26       STOCK AND BUSINESS INTERESTS                                          67.74                      0.00                                   0.00                        FA
            E-Trade Account

   27       STOCK AND BUSINESS INTERESTS                                           1.00                      0.00                                   0.00                        FA
            Interest in Montoya Law Inc., 100% ownership

   28       PENSION PLANS AND PROFIT                                             371.51                      0.00                                   0.00                        FA
            SHARING
            Retirement: American Funds


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                                                                                                § 341(a) Meeting Date:       08/14/2017
For Period Ending:         08/31/2020                                                           Claims Bar Date:      03/19/2018

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                                                                                     Less Liens, Exemptions,       abandon.                           Remaining Assets
  Ref. #                                                                                and Other Costs)

   29       PENSION PLANS AND PROFIT                                        937.72                      0.00                                   0.00                        FA
            SHARING
            Retirement: American Funds

   30       PENSION PLANS AND PROFIT                                  19,133.17                         0.00                                   0.00                        FA
            SHARING
            Retirement: American Funds

   31       OFFICE EQUIPMENT, FURNISHINGS,                            10,163.83                         0.00                                   0.00                        FA
            AND SUPPLIES
            Retirement: PERA-Dennis

   32       PENSION PLANS AND PROFIT                                        340.79                      0.00                                   0.00                        FA
            SHARING
            IRA- E-Trade

   33       PENSION PLANS AND PROFIT                                    3,659.75                        0.00                                   0.00                        FA
            SHARING
            Ret. or Pension Acct.: ERB - Dennis

   34       INTERESTS IN INSURANCE POLICIES                             1,000.00                        0.00                                   0.00                        FA
            Insurance: Farmers New World Life and accident

   35       INTERESTS IN INSURANCE POLICIES                                  50.00                      0.00                                   0.00                        FA
            Insurance: Farmers New World Life and accident

   36       INTERESTS IN INSURANCE POLICIES                                 500.00                      0.00                                   0.00                        FA
            Minnesota Life Ins

   37       CLAIMS AGAINST THIRD PARITIES                               7,000.00                        0.00                                   0.00                        FA
            Return of judgment that was vacated on appeal. D-
            1329-CV-2017-01310

   38       CLAIMS AGAINST THIRD PARTIES                                1,000.00                        0.00                                   0.00                        FA
            FDCPA Violation 17CV00693 (US District Court for the
            District of New Mexico)

  39*       CLAIMS AGAINST THIRD PARTIES                               Unknown                     Unknown                                     0.00               Unknown
            Whistleblower Protection Act D-307-CV-2016-02009
            (See Footnote)

   40       CLAIMS AGAINST THIRD PARTIES                                3,000.00                        0.00                                   0.00                        FA
            Possible Preference Recovery of 2007 Toyota Yaris


  40        Assets Totals (Excluding unknown values)                $229,183.11                        $0.00                                  $0.00                  $0.00


        RE PROP# 5               1.3.18 Subject of Stay Relief Mtn by Capital One Auto Finance, Doc. 67

        RE PROP# 39              12.21.17 Hire Ttee attorney special counsel to pursue claim v. Dona Ana Co; hire A&M as general counsel
                                 12.12.17 Dona Ana County attorney contacts TTEE re whistleblower suit and possible settlement; withdraw NDR and file
                                 report of assets since deferral deadline has passed long ago. TTEE to discuss matter with whistleblower attorneys.




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For Period Ending:     08/31/2020                                            Claims Bar Date:    03/19/2018



Major Activities Affecting Case Closing:

                            8.7.20 checked with special counsel on strategy and state court litigation.
                            7/2020 State court litigation proceedings and depositions taken of defendants
                            7.14.20 TTEE electronic correspondence with counsel re: case status and strategy
                            06.01.20 June 2020 depositions taken in state court
                            5.23.20 Trustee followed up w/ SC
                            4.30.20 SC filed request for trial setting
                            4.25.20 Follow up w/special counsel re: status of state court lawsuit
                            1.18.20 Follow up w/ special counsel re: status of state court lawsuit-not much development
                            11.19.19 TTEE email to B. Duke for update
                            10.21.19 TTEE followed up with special counsel on lit. against Dona Ana
                            4.17.19 Received an email from special counsel "We are now scheduled for trial on November 13, 2019".
                            7.30.18 Followup with Special Counsel on litigation against Dona Ana Co.
                            1.10.18 App to employ Labinoti special counsel filed; NOD sent 1.11.18; DL Obj 2.5.18; 2/9/18 Order entered
                            12.21.17 Hire Ttee attorney special counsel to pursue claim v. Dona Ana Co; hire A&M as general counsel
                            12.12.17 Dona Ana County attorney contacts TTEE re whistleblower suit and possible settlement; withdraw
                            NDR and file report of assets since deferral deadline has passed long ago. TTEE to discuss matter with
                            whistleblower attorneys.

Initial Projected Date Of Final Report (TFR): 06/28/2019             Current Projected Date Of Final Report (TFR):      12/31/2020


                     08/29/2020                                                  /s/Edward Mazel
                        Date                                                     Edward Mazel




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